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                      12
                                                                UNITED STATES DISTRICT COURT
                      13                                             DISTRICT OF NEVADA

                      14      IN RE ZAPPOS SECURITY BREACH                       MDL: 2357
                              LITIGATION                                         Case No. 3:12-cv-00325-RCJ-VPC
                      15
                              -----------------------------------------------
                      16                                                          STIPULATION REGARDING
                              This document relates to:                           SUPPLEMENTAL NOTICE
                      17
                                                 ALL ACTIONS
                      18

                      19                       WHEREAS, on November 4, 2019, the Court entered its Order Granting Joint

                      20     Emergency Motion for Administrative Relief Pursuant to Local Rule 7-4 and the All Writs Act,

                      21     28 U.S.C. § 1651 (ECF No. 358) (the “Emergency Order”); and

                      22                       WHEREAS, the Emergency Order provides, in relevant part, that “the Parties will

                      23     issue a notice to all members of the Class informing them of the fraudulent website, re-

                      24     identifying the correct website for class members to register, and establishing a point of contact

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                         1   for any class members who have visited or used the fraudulent website”; and

                         2                   WHEREAS, to date, more than 126,000 class members have redeemed the

                         3   discount codes described in the settlement agreement in this matter, with the total value of

                         4   redeemed discounts exceeding $1,739,000; and

                         5                   WHEREAS, the parties propose a supplemental notice herein, to address the

                         6   matters set forth in the Emergency Order, to make it easier for settlement class members to

                         7   redeem their discount codes, and to provide greater explanation of how the discount code

                         8   program operates.

                         9                   NOW, THEREFORE, the Parties stipulate and agree, by and through their

                      10     respective undersigned counsel of record, as follows:

                      11                     1.    During the period November 15-30, 2019, Zappos shall email (or shall

                      12     cause the Settlement Administrator to email) supplemental notice, substantially in the form

                      13     attached hereto as Exhibit A, to all previously contacted settlement class members (including

                      14     those who have objected or submitted requests for exclusion); and

                      15                     2.    Zappos shall bear the costs of the supplemental notice described herein.

                      16     O’MARA LAW FIRM, P.C.                            KAEMPFER CROWELL

                      17
                             By /s/ David C. O’Mara                           By /s/ Robert McCoy
                      18       David C. O’Mara, No. 8599                        Robert McCoy, No. 9121
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                         9
                             Attorneys for Plaintiffs
                      10

                      11                                            ORDER

                      12                     IT IS SO ORDERED.

                      13
                                                                    ROBERT C. JONES
                      14                                            United States District Judge

                      15                                            Dated: November 15, 2019.

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                  EXHIBIT A

            Reminder Notice to Class Members




                  EXHIBIT A
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                                Please take a moment to read this email

Dear (customer name),

You should have received an email in mid-October about a proposed class action settlement, stating
that because you were a customer of Zappos in January 2012, you are entitled to receive a 10% discount
on your next Zappos purchase. This discount was part of a settlement reached in the lawsuit filed
because of the data breach that occurred in January 2012.

We wanted to reach out again to remind you that you may use your discount code between now and
the end of the year (December 31, 2019 at 11:59 pm pacific time to be exact). Here are some highlights
for using your discount code:

    •    You may combine it with other promotions, discounts or points that you have on your Zappos
         account.
    •    You can use it on ANY item available on the Zappos app or website, including items that are on
         sale.
    •    Your discount code is good on your entire order, no matter how many items you have in your
         shopping cart.
    •    There is no limit to how much you can save on your purchase.
    •    Or, if you prefer, you can simply transfer the code to someone else to use.

If you have already used your discount code and you need to return or exchange the items you
purchased with it, feel free to contact our Customer Loyalty Team at (877) 927-2332. They will be happy
to assist you and provide you with a new discount code for your return/exchange purchase.

Once again, here is your one-time-use code: «CouponCODE». Once you've selected the items you want
to purchase, select “Proceed to Checkout” and you’ll have a chance to enter your code.

    •    For Desktop Users: Under “2. Payment Method,” you’ll see a dropdown for “Add gift card or a
         VIP code.” Simply enter the code there, click “Apply,” and continue checking out.
    •    For App Users: Select “Gift Codes” in the top right corner, enter your code, select save, and
         continue checking out.

For additional information regarding the settlement and your legal rights to object or opt out of this
settlement, please visit www.Zapposdatasettlement.com, which is the only official settlement website.
Please be aware that the website www.zapposdatabreachsettlement.com is a counterfeit website that
was ordered closed by the Court. If you inadvertently visited the counterfeit website before it was
closed, you may contact (310) 201-9150 for additional information.

Thank you for your patience and understanding and, as always, we’re here to help. If you need help with
placing an order, please don’t hesitate to reach out by contacting us at 2012action@zappos.com or
(877) 927-2332. If you need information about the settlement, please write to: Zappos Settlement
Administrator, P.O. Box 43434, Providence, RI 02940-3434, or telephone 1-855-263-1060.

We appreciate you,

Your Friends at Zappos



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